Case 2:17-cv-04393-RGK-KS    Document 421 Filed 10/07/21    Page 1 of 2 Page ID
                                   #:14578                   "'`"`. ~~~• ut5i R1CT COURT



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   2                    UNITED STATES DISTRICT C =                  ~~~~C    ~   F RNIA
                                                                                 DEPUTY ,
   3                   CENTRAL DISTRICT OF CALIFORNIA                            `- - "`J
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  5 iJNITED STATES OF AMERICA ex              Case No. 17-cv-04393-RGK-KS
    rel. ISLAND INDUSTRIES,INC.,
  6
                    Plaintiff,
  7                                           JURY VERDICT FORM
            vs.
  8
    VANDEWATER INTERNATIONAL,                 Trial Date:      September 28, 2021
  9 INC.  , et al.,                           Time:            9:00 AM
                                              Judge:           Hon. R. Gary Klausner
  10             Defendant(s).

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Case 2:17-cv-04393-RGK-KS             Document 421 Filed 10/07/21            Page 2 of 2 Page ID
                                            #:14579


   1       We the jury in the above titled case answer the questions posed to us as follows:

   2 ~I             1. Do you find by a preponderance ofthe evidence that Defendant violated the False
                       Claims Act by knowingly making false statements to avoid an obligation to pay
   3                   money to the Government?
   41
                           Answer:         ~     Yes            No
   5
          If your answer to question 1 is "Yes," proceed to the next question. If your answer to question 1
   6 I is "No," stop here, answer no further questions, and have the presiding juror sign and date this
          form.
   7
                    2. Do you find that the Government reasonably should have known by June 13, 2014 of
   8
                       any violation that Plaintiff alleges Defendant committed before June 13,2011?
   9
                          Answer:               Yes        ~ No
  10
          If your answer to question 2 is "Yes," proceed to the next question. If your answer to question 2
  11      is "No," skip question 3 and proceed to question 4.
  121
                  3. What is the amount of damages that Plaintiff has proven that Defendant owes for
  13                 violations that occurred on or after June 13,2011?

  14
 15       After answering question 3, stop here, answer no further questions, and have the presiding juror
          sign and date this form.
 16
 17               4. What is the amount of damages that Plaintiff has proven that Defendant owes?

 18                   $          C~       ~ 5`~ to , ~3
 19
          Signed:
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                  Presiding~Juror     l
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                  Dated: ~~.-~. ~, ~?.Dom, J
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